12 F.3d 205
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Emory KILGORE, Petitioner,v.BARNETTE CONTRACTORS, INCORPORATED;  Director, Office ofWorkers' Compensation Programs, United StatesDepartment of Labor, Respondents.
    No. 93-1949.
    United States Court of Appeals,Fourth Circuit.
    Dec. 7, 1993.
    
      Emory Kilgore, petitioner Pro Se.
      Mark Elliott Solomons, Laura Metcoff Klaus, Arter &amp; Hadden, Marta Kusic, Staff Attorney, Christian P. Barber, United States Department of Labor, for respondents.
      Ben. Rev. Bd.
      AFFIRMED.
      Before MURNAGHAN and LUTTIG, C.J., and SPROUSE, J.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1993).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Kilgore v. Barnette Contractors, Inc., No. 92-107-BLA (B.R.B. June 28, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    